Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59            Desc
                              Main Document    Page 1 of 52

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  5
      Attorneys for Chapter 11 Debtor
  6 and Debtor in Possession
  7
  8                           UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA
  9                                 LOS ANGELES DIVISION
 10                                                 )   Case No.: 2:22-bk-10266-BB
                                                    )
 11 In re:                                          )   Chapter 11 Case
 12                                                 )
      ESCADA AMERICA, LLC,                          )   DEBTOR’S CHAPTER 11 PLAN OF
 13                                                 )   REORGANIZATION, DATED MAY 12,
                 Debtor and Debtor in Possession.   )   2022
 14                                                 )
                                                    )   Hearing on Plan Confirmation:
 15                                                     Date: TBD
                                                    )
 16                                                 )   Time: TBD
                                                    )
 17                                                 )   Place: Courtroom 1539
                                                    )          255 East Temple Street
 18                                                 )          Los Angeles, CA 90012
                                                    )
 19
                                                    )   Hearing to be held in-person and by
 20                                                 )   videoconference
                                                    )   Government Zoom, see Court’s
 21                                                 )   website under “Telephonic Instructions” for
                                                    )   more details:
 22                                                 )   https://www.cacb.uscourts.gov/judges/honor
                                                    )   able-sheri-bluebond
 23
                                                    )
 24                                                 )
                                                    )
 25                                                 )
                                                    )
 26                                                 )
 27
 28



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Case 2:22-bk-10266-BB                  Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                                            Desc
                                        Main Document    Page 2 of 52

  1                                                   TABLE OF CONTENTS
  2 I. INTRODUCTION ................................................................................................................ 2
  3
      II. TREATMENT OF CREDITORS’ CLAIMS UNDER THE PLAN ............................... 3
  4
                A. The Bond Liens ....................................................................................................... 3
  5
                B. What Creditors Will Receive Under the Plan ...................................................... 3
  6
                           1. Unclassified Claims ..................................................................................... 5
  7
                           2. Classified Claims and Interests .........................................................9
  8
                C. Means of Effectuating and Implementing the Plan ........................................... 22
  9
                           1. Funding for the Plan ................................................................................. 22
 10
 11                        2. Composition of the Debtor After the Effective Date .............................. 24

 12                        3. Post-Confirmation Management and Compensation ............................ 24

 13                        4. Disbursing Agent ...........................................................................................
 14                        5. Objections to Claims ................................................................................. 24
 15
                           6. Avoidance Actions, Strong Arm Powers, and Causes of Action ........... 25
 16
                           7. Employment of Professionals by the Reorganized Debtor and
 17                           Payment of Professional Fees and Expenses After the Effective Date . 26

 18                        8. Exemption from Transfer Taxes .............................................................. 26

 19                        9. Distributions to Be Made Pursuant to the Plan ...................................... 26

 20                        10. Exculpations and Releases ...................................................................... 27

 21                        11.`Injunctions ............................................................................................... 27

 22                        12. Executory Contracts and Unexpired Leases ......................................... 28

 23                        13. Changes in Rates Subject to Regulatory Commission Approval ........ 29

 24                        14. Retention of Jurisdiction ........................................................................ 29

 25 III. EFFECT OF CONFIRMATION OF THE PLAN ...................................................... 31
 26             A. Discharge ............................................................................................................... 31
 27
                B. Modification of the Plan ....................................................................................... 31
 28



                                                                             i
Case 2:22-bk-10266-BB           Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                                            Desc
                                 Main Document    Page 3 of 52

  1       C. Post-Confirmation Status Reports ................................................................ 31

  2       D. Post-Confirmation Operations ............................................................................ 31
  3
          E. Post-Confirmation Conversion/Dismissal .......................................................... 31
  4
          F. Final Decree ........................................................................................................... 32
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28



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Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59               Desc
                              Main Document    Page 4 of 52

  1                                    I.       INTRODUCTION

  2          Escada America, LLC, a Delaware limited liability company (the “Debtor”), is the
  3 debtor and debtor in possession in the above-captioned chapter 11 bankruptcy case (the
  4
      “Bankruptcy Case”) bearing case number 2:22-bk-10266-BB. The Debtor filed a voluntary
  5
      petition under chapter 11 of 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and elected
  6
      subchapter V on January 18, 2022 (the “Petition Date”). On May 4, 2022, the Debtor amended
  7
  8 its petition to un-elect subchapter V. The Debtor is operating its business, managing its affairs,
  9 and administering its estate as a debtor in possession pursuant to sections 1107 and 1108 of the
 10 Bankruptcy Code. The United States Trustee (the “UST”) appointed Gregory K. Jones, Esq. as
 11
      the subchapter V trustee pursuant to 11 U.S.C. § 1183(a) for the duration of the Debtor’s time in
 12
      subchapter V, which ended on May 4, 2022.
 13
             This document is the Debtor’s plan of reorganization (the “Plan”). A separate
 14
 15 document, sent to you in the same envelope with the Plan, is the disclosure statement (the
 16 “Disclosure Statement”), which describes the Plan. The Disclosure Statement is provided to
 17 help you understand the Plan. On ________, 2022, the Court held a hearing and approved the
 18 Disclosure Statement as having adequate information describing the Plan to assist parties in
 19
      interest in determining whether to accept or reject the Plan or otherwise file objections. All
 20
      capitalized terms used in the Plan which are not defined in the Plan but which are defined in the
 21
      Disclosure Statement shall be deemed to have the same definitions as used in the Disclosure
 22
 23 Statement.
 24          Chapter 11 allows debtors and, under some circumstances, creditors and other parties in

 25 interest, to propose a plan of reorganization. The Plan is a reorganization plan proposed by the
 26 Debtor with substantial input from major non-insider unsecured creditors during the first three
 27
      months of the case. The effective date of the Plan (the “Effective Date”) will be the first
 28



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Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59               Desc
                              Main Document    Page 5 of 52

  1 business day of the first month which is at least fifteen days following the date of entry of the
  2 Court order confirming the Plan (the “Plan Confirmation Order”) and the satisfaction or waiver
  3 by the Debtor of all of the following conditions to the effectiveness of the Plan: (a) there shall
  4
      not be any stay in effect with respect to the Plan Confirmation Order; (b) the Plan Confirmation
  5
      Order shall not be subject to any appeal or rehearing; and (c) the Plan and all documents,
  6
      instruments and agreements to be executed in connection with the Plan shall have been executed
  7
  8 and delivered by all parties to such documents, instruments and agreements. The Debtor,
  9 following the Effective Date, shall be referred to as the “Reorganized Debtor.”
 10          The Reorganized Debtor will acquire all assets and assume all liabilities of the Debtor,
 11 as restructured under the Plan. The Reorganized Debtor will sign any reasonable documentation
 12 as requested by creditors or required by law to effectuate the acquisition of assets and
 13 assumption of liabilities under the Plan.
 14                II.    TREATMENT OF CREDITORS’ CLAIMS UNDER THE PLAN
 15          A. The Bond Liens
 16          The Plan creates liens on certain bond recoveries (each, a “Bond Lien” and, collectively,
 17 the “Bond Liens”), which are integral to the treatment of Classes 1, 2, 3, 4, and 5 below.
 18 Classes 1, 2, and 4 have prepetition liens against all or substantially all of the Debtor’s assets.
 19 Class 3 is a creditor with a consignment arrangement, but, to the extent considered as a security
 20 interest, would also have a lien. Class 5 is a general unsecured creditor class.
 21          As of the Petition Date, the Debtor holds prepetition bonds with total value of
 22 approximately $2.15 million, the collateral for which is cash in a money-market account to
 23 support letters of credit (the “Bond Collateral”) with JP Morgan Chase Bank (“JPMC”). There
 24 are $408,065.65 in offsetting liabilities against the Bond Collateral, resulting in approximately
 25 $1,789,014.091 in expected bond proceeds (the “Net Bond Proceeds”). The Net Bond Proceeds
 26
 27
 28   1
       This figure includes $47,079.74 for a 2% cushion held by JPM Chase in the cash collateral
      deposit account that backs the bonds.


                                                       3
Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                  Desc
                              Main Document    Page 6 of 52

  1 stems from two separate bonds: (i) a $700,000 bond, secured by $1,400,000 in Bond Collateral
  2 (the “Western Surety Bond”) and (ii) a $400,000 and a $350,000 bond, secured by $7500,000 in
  3 Bond Collateral, with $408,065.65 in offsetting liabilities (the “Lexon Bond”); and (iii) a 2%
  4 cushion in the JPMC account in the amount of approximately $47,079.74. As the bonds are
  5 cancelled, mature, and/or terminate, the Net Bond Proceeds shall be placed into a trust account
  6 (the “Bond Account”) held by Debtor’s counsel, LNBYG,2 to be the collateral for: (i) the Class
  7 5 claims with a first position Bond Lien (the “Class 5 Bond Lien”); and (ii) the Class 1 claim,
  8 with a second position Bond Lien (the “Class 1 Bond Lien”). Every dollar of Net Bond
  9 Proceeds recovered shall be paid to Class 5 allowed claim holders, pari passu, within 30 days of
 10 receipt of the Bond Collateral into the Bond Account, until Class 5 has received its full Class 5
 11 Recovery (as defined below). The Debtor shall notify Classes 1, 2, 3, 4, and 5 of the receipt of
 12 any Net Bond Proceeds within two (2) business days of such proceeds being released by JPMC
 13 to the Bond Account. At the Debtor’s and/or Reorganized Debtor’s discretion, notice may be
 14 given by filing a notice on the bankruptcy court’s docket or by email and/or mail to the 20
 15 largest unsecured creditors in the case.
 16           ESP will act as a secured lender exit financier (the “Exit Financier”) and, along with

 17 Classes 1, 2, 3, and 4, through the Plan, consent to Class 5 having a lien for the Class 5 Bond
 18 Lien on the Bond Collateral, Bond Account, and Net Bond Proceeds senior to the prepetition
 19 liens held by Classes 1, 2, 3, and 4, and the exit financing lien held by the Exit Financier.
 20           The total payment to Class 5 creditors will be 15 cents on the dollar, reduced by a carve-

 21 out for the payment of (i) Substantial Contribution Claims, as defined below and (ii) the fees
 22 and costs of any official committee appointed under 11 U.S.C. § 1102 and the allowed
 23 administrative professional fees for any such committee (the “Class 5 Recovery”). 3
 24
 25
      2
          Alternatively, the Debtor and/or Reorganized Debtor may set up the Bond Account as an
 26 account subject to a deposit-account-control-agreement with JPMC with a lien in favor of Class
      5 to have the proceeds transfer over when they are released from the bond liabilities.
 27
      3
          On May 2, 2022, NYC Dept. of Finance filed proof of claim #39, asserting a priority
 28 unsecured claim in the amount of $904,777.63. This claim is under investigation, as the Debtor
      scheduled the priority claim as $349,209.25 and believes the proof of claim is overstated.


                                                       4
Case 2:22-bk-10266-BB         Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59              Desc
                               Main Document    Page 7 of 52

  1          B. What Creditors Will Receive Under the Plan

  2          As required by the Bankruptcy Code, the Plan classifies certain claims and interests in

  3 various “classes” according to their right to priority and leaves other types of claims
  4 unclassified. Also, as required by the Bankruptcy Code, the Plan states whether each class of
  5 claims or interests is impaired or unimpaired and describes the treatment each class will
  6 receive.
  7          1. Unclassified Claims

  8          Certain types of claims are not placed into voting classes; instead they are unclassified.

  9 The Bankruptcy Code predetermines what type of treatment these claims will receive. They are
 10 not considered impaired and they do not vote on the Plan because they are automatically
 11 entitled to specific treatment provided for them in the Bankruptcy Code. As such, the Debtor
 12 has not placed the following claims in a class.
 13                      a. Administrative Expenses

 14          Administrative expenses are claims for costs or expenses of administering the Debtor’s

 15 Bankruptcy Case that are allowed under Bankruptcy Code Section 507(a)(2). The Bankruptcy
 16 Code requires that all administrative claims be paid on the Plan Effective Date unless a
 17 particular claimant agrees to a different treatment.
 18          The following chart lists all of the Debtor’s § 507(a)(2) estate professional

 19 administrative claims and their treatment under the Plan.
 20
 21          Name                            Amount Owed                 Treatment
 22          Clerk's Office Fees             $0                          Paid in full on the
                                                                         Effective Date
 23          Quarterly Fees to the           $0                          The Debtor will be
             United States Trustee                                       current on quarterly fees
 24          (“UST”)                                                     by the time of the hearing
                                                                         on plan confirmation.
 25
             Levene, Neale, Bender,          $125,000 (est.)             Paid in full out of the
 26          Yoo & Golubchik L.L.P.                                      Debtor's cash on hand on
             ("LNBYG"), bankruptcy                                       the later of the Effective
 27
 28 However, if the claim is more than $399,209.35, the Class 5 Recovery will be reduced dollar-
      for-dollar from a target of 15 cents to as low as 12.5 cents.


                                                         5
Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59              Desc
                              Main Document    Page 8 of 52

  1          counsel to the Debtor                                      Date and the date the
                                                                        Court enters an order
  2                                                                     allowing such fees and
                                                                        expenses
  3
             Subchapter V Trustee          $20,000 (est.)               Paid in full out of the
  4                                                                     Debtor’s cash on hand on
                                                                        the later of the Effective
  5                                                                     Date and the date the
                                                                        Court enters an order
  6                                                                     allowing such fees and
  7                                                                     expenses
             Accountant                    $25,000 (est.)               Paid in full out of the
  8          Holthouse, Carlin & Van                                    Debtor's cash on hand on
             Trigt LLP                                                  the later of the Effective
  9                                                                     Date and the date the
                                                                        Court enters an order
 10
                                                                        allowing such fees and
 11                                                                     expenses
             TBD Counsel for the           $30,000 (est.)               Paid in full out of the
 12          Official Committee of                                      Debtor's cash on hand on
             Unsecured Creditors                                        the later of the Effective
 13
                                                                        Date and the date the
 14                                                                     Court enters an order
                                                                        allowing such fees and
 15                                                                     expenses
             TOTAL                         $200,000 (est.)              Paid in the manner
 16                                                                     described above
 17
 18          The Court must approve all professional fees and expenses listed in this chart before
 19 they may be paid. For all professional fees and expenses (except fees owing to the Clerk of the
 20 Bankruptcy Court), the professional in question must file and serve a properly noticed fee
 21 application and the Court must rule on the application. Only the amount of fees and expenses
 22
      allowed by the Bankruptcy Court will be required to be paid under the Plan. The administrative
 23
      claim amounts set forth above simply represent the Debtor’s best estimates as to the amount of
 24
      allowed administrative claims in the Bankruptcy Case. The actual administrative claims may
 25
      be higher or lower. Much of whether the actual administrative claims described above for
 26
      professionals will be dependent upon whether the Debtor is required to engage in any
 27
      substantial litigation regarding the confirmation of the Plan and/or objecting to claims. To the
 28



                                                      6
Case 2:22-bk-10266-BB         Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59              Desc
                               Main Document    Page 9 of 52

  1 extent the Debtor is required to engage in any such substantial litigation, the Debtor is likely to
  2 incur professional fees and expenses in excess (and possibly substantially in excess) of the
  3 figures set forth above. By voting to accept the Plan, creditors are not acknowledging the
  4 validity of, or consenting to the amount of, any of these administrative claims, and creditors are
  5 not waiving any of their rights to object to the allowance of any of these administrative claims.
  6 By including the figures described above, the Debtor is not acknowledging the validity of, or
  7
      consenting to the amount of, any of these administrative claims, and the Debtor is not waiving
  8
      any of its rights to object to the allowance of any of these administrative claims. Similarly,
  9
      professionals who have been employed in the Bankruptcy Case are not being deemed to have
 10
      agreed that the figures contained herein represent any ceiling on the amount of fees and
 11
      expenses that they have incurred or are entitled to seek to be paid pursuant to Bankruptcy Court
 12
      order as such fees and expenses are just estimates provided at the time of the preparation of the
 13
      Disclosure Statement.
 14
             To the extent administrative claims are allowed prior to the Effective Date, such
 15
      allowed administrative claims may be paid by the Debtor out of the Debtor’s funds provided the
 16
 17 Debtor has sufficient funds to pay them. To the extent administrative claims are allowed after
 18 the Effective Date, such allowed administrative claims will be paid by the Reorganized Debtor.
 19          The following chart lists all of the Debtor’s § 507(a)(2) administrative claims (other

 20 than estate-professional-administrative-expense claims listed above) accruing and unpaid in the
 21 ordinary course of business and their treatment under the Plan.
 22          Name                           Amount Owed                  Treatment
             Mega                           $100,000 (est.)              To be added to the Class
 23          (for Debtor’s employees’                                    2 Claim held by Mega
             health, dental, and vision
 24
             benefits plans accrued and
 25          unpaid during the
             pendency of the
 26          bankruptcy case)
 27          ESP                            $300,000 (est.)              To be added to the Class
 28          (for consignment fees                                       3 Claim held by ESP




                                                       7
Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                 Desc
                              Main Document    Page 10 of 52

  1          accrued and unpaid during
             the pendency of the
  2          bankruptcy case)
  3          TOTAL                          $400,000 (est.)

  4
                         b. Priority Tax Claims
  5
             Prepetition priority tax claims include certain unsecured income, employment and other
  6
      taxes described by Section 507(a)(8) of the Bankruptcy Code. Section 1129(a)(9)(C) of the
  7
  8 Bankruptcy Code requires that each holder of such a Section 507(a)(8) priority tax claim
  9 receive regular installment payments of a total value, as of the Plan Effective Date, equal to the
 10 allowed amount of such allowed tax claims, over a period ending not later than five years after
 11 the Petition Date, and not less favorable than other creditors paid under the Plan. Interest rates
 12 on these claims are conclusively determined by applicable non-bankruptcy law as of the month
 13 that the Plan is confirmed. 11 U.S.C. § 511.
 14          Under the Plan, all allowed Section 507(a)(8) priority tax claims under $100,000 will be
 15 paid within 30 days of the Plan Effective Date. The claim of NYC Department of Finance will
 16 be paid in equal quarterly installment payments over the first year of the Plan. The Debtor may
 17 pay these claims early with no prepayment penalty. Interest on the priority tax claims will
 18
      accrue and be paid at the applicable non-bankruptcy law statutory rate.
 19
              Unless timely contested under the Plan, a failure by the Debtor to make a payment on
 20
      the priority tax claims pursuant to the terms of the Plan will be an event of default. If the event
 21
      of default is not cured within thirty (30) days after service of written notice of default from the
 22
      taxing authority, then the taxing authority may enforce its applicable remedies by application of
 23
      non-bankruptcy law in non-bankruptcy court. The chart below indicates all priority tax claims
 24
      which were either scheduled by the Debtor or asserted by the taxing agencies in timely filed
 25
      proofs of claim. The inclusion of the claims in the chart below is intended simply to reflect the
 26
 27 claims that have been scheduled and/or asserted in timely filed proofs of claim as priority tax
 28 claims, and is not intended to be a concession by the Debtor regarding the validity of the



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Case 2:22-bk-10266-BB           Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59             Desc
                                 Main Document    Page 11 of 52

  1 amount of any such claims or the classification of such claims as priority tax claims under
  2 Section 507(a)(8) of the Bankruptcy Code.
  3                 Claimant                 Proof of Claim No.      Claim Amount
          County of Los Angeles                        9                  $ 8,537.47
  4
          Cal. Franchise Tax Board                    17                     $800.00
  5       IRS                                  2, as amended                 $500.00
          Cal. Empl. Dev. Dep’t                      N/A                          $0
  6       NYC Dept. of Finance                        39               $349,209.254
          TOTAL                                                         $359,046.72
  7
  8
                    2. Classified Claims and Interests
  9
                        a. Non-Tax Pre-Petition Priority Claims
 10
                 Certain prepetition priority claims that are referred to in Bankruptcy Code Sections
 11
      507(a)(4), (5), (6), and (7) are required to be placed in classes. These types of claims are
 12
      entitled to priority treatment under the Bankruptcy Code as each holder of such an allowed
 13
      claim must receive cash on the Effective Date equal to the allowed amount of such claim.
 14
      However, the holder of such an unsecured priority claim may agree to accept deferred cash
 15
      payments of a value, as of the Effective Date, equal to the allowed amount of such claim. The
 16
      Debtor’s schedules reflect no creditors as holding priority unsecured claims. No creditors filed
 17
      proofs of claim asserting non-tax priority unsecured claims. The below chart summarizes the
 18
      priority non-tax claims and whether the Debtor is considering an objection at this time:
 19
 20       Name                   Claim No.     Objection       Claim Amount
          None                      N/A          N/A                   $0.00
 21
 22                     b. Class 1 – Allowed Secured Claim of Eden Roc International, LLC
 23                        (“Eden Roc”)
 24              The following chart identifies the Plan’s treatment of Class 1 comprised of the allowed
 25 secured claims of Eden Roc International, LLC (“Eden Roc”):
 26
 27
      4
           On May 2, 2022, NYC Dept. of Finance filed proof of claim #39, asserting a priority
 28 unsecured claim in the amount of $904,777.63. This claim is under investigation, as the Debtor
      believes the claim is overstated.


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Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59         Desc
                         Main Document    Page 12 of 52

  1       CLASS     DESCRIPTION              IMPAIRED   TREATMENT
          #                                   VOTING
  2         1
  3                 Claimant:                Impaired
                    Eden Roc                            Class 1 shall have an allowed
  4                                          Entitled   secured claim in the amount of
                    Type of Claim:           to vote.   $579,025.32     principal, plus
  5                 Allowed                             accrued fees, and costs.
                    secured claim
  6                                                     Senior secured lien on
  7                 Claim amount:                       all of the Debtor’s assets, except
                    $579,025.32, plus                   with respect to the Bond
  8                 accrued      interest,              Collateral, Bond Account, and
                    fees, and costs                     Net Bond Proceeds.
  9
                    Collateral:                         With respect to the Bond
 10
                    All assets of the                   Collateral and Bond Account,
 11                 Debtor                              Class 1 shall have a second
                                                        priority lien on the Net Bond
 12                                                     Proceeds.
 13                                                     The order confirming the Plan
                                                        shall affirm the validity of the
 14
                                                        claim and validity of the lien.
 15
                                                        Interest rate: 6.0% per annum,
 16                                                     compounding.
 17                                                     Loan maturity date extended to
 18                                                     12/31/2027.

 19                                                     Balloon payment of all principal
                                                        and accrued interest due on
 20                                                     12/31/2025. Provided that all
                                                        payments to Class 5 have been
 21                                                     made, the Debtor shall have the
 22                                                     right to prepay all principal and
                                                        accrued interest due to Class 1
 23                                                     without penalty.

 24                                                     Class 1 will not receive any
                                                        payments under the Plan during
 25                                                     the life of the Plan on account of
 26                                                     their Class 1 claims, until and
                                                        unless Class 5 has received all
 27                                                     payments payable thereunder.
                                                        Class 1 creditors will maintain
 28                                                     their claims and liens and interest



                                                 10
Case 2:22-bk-10266-BB      Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59             Desc
                            Main Document    Page 13 of 52

  1                                                             will continue to accrue but be
                                                                unpaid for the life of the Plan.
  2
                                                                Unless otherwise altered by the
  3
                                                                Plan, other terms in the
  4                                                             prepetition loan and security
                                                                documents remain in full force
  5                                                             and effect between the Debtor
                                                                and the Class 1 claimant.
  6
  7                c. Class 2 – Allowed Secured Claim of Mega International, LLC
  8         The following chart identifies the Plan’s treatment of Class 2 comprised of the allowed
  9 secured claim of Mega International, LLC (“Mega”), in the total amount of $1,605,953.00:
 10
 11
 12
 13
 14
 15
 16
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 18
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Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59         Desc
                         Main Document    Page 14 of 52

  1       CLASS     DESCRIPTION              IMPAIRED   TREATMENT
          #                                   VOTING
  2         2
  3                 Claimant:                Impaired   Class 2 shall have an allowed
                    Mega                                secured claim in the amount of
  4                                          Entitled   $1,605,953.00, principal, plus
                    Type of Claim:           to vote.   accrued unpaid fees and costs.
  5                 Allowed
                    secured claim
  6                                                     Second position junior secured
  7                 Prepetition Claim                   lien on all of the Debtor’s assets,
                    amount:                             except for the Bond Collateral,
  8                 $1,506,953.00, plus                 Bond Account, and Net Bond
                    accrued      interest,              Proceeds.
  9                 fees, and costs
                                                        The order confirming the Plan
 10
                    Post-petition Claim                 shall affirm the validity of the
 11                 amount:      $99,000                claim and validity of the lien.
                    (estimated)
 12                                                     Interest rate: 7.0% per annum,
                    Total Claim amount:                 compounding
 13                 $1,605,953.00
                                                        Loan maturity date extended to
 14
                    Collateral:                         12/31/2027.
 15                 All assets of the
                    Debtor                              Balloon payment of all principal
 16                                                     and accrued interest due on
                                                        12/31/2027.
 17
 18                                                     Class 2 will not receive any
                                                        payments under the Plan during
 19                                                     the life of the Plan on account of
                                                        their Class 2 claims until all
 20                                                     payments to Class 5 have been
                                                        made. Class 2 creditors will
 21                                                     maintain their claims and liens
 22                                                     and interest will continue to
                                                        accrue but be unpaid for the life
 23                                                     of the Plan.

 24                                                     Unless otherwise altered by the
                                                        Plan, other terms in the
 25                                                     prepetition loan and security
 26                                                     documents remain in full force
                                                        and effect between the Debtor
 27                                                     and the Class 2 claimant.

 28



                                                 12
Case 2:22-bk-10266-BB     Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59             Desc
                           Main Document    Page 15 of 52

  1
  2
  3               d. Class 3 – Allowed Claim of Escada Sourcing and Production LLC

  4                   Related to Consignment

  5        The following chart identifies the Plan’s treatment of Class 3 comprised of the allowed

  6 claim of Escada Sourcing and Production, LLC (“ESP”):
  7
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Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59               Desc
                         Main Document    Page 16 of 52

  1       CLASS     DESCRIPTION              IMPAIRED        TREATMENT
          #                                   VOTING
  2         3
  3                 Claimant:                Impaired        Class 3 shall retain its rights as a
                    ESP                                      consignor, unaltered by the Plan.
  4                                          Entitled   to
                    Type of Claim:           Vote            Total allowed secured claim of
  5                 True Consignment;                        no less than $1,025,361.39, plus
                    additionally, claims                     accruing       claim       post-
  6                 as follows:                              confirmation.
  7
                    Pre-petition Claim:                      The order confirming the Plan
  8                 A          prepetition                   shall affirm the validity of the
                    secured claim in the                     consignment agreement between
  9                 amount of no less                        the Debtor and ESP and ratify the
                    than $675,361.39                         terms     of   the    settlement
 10
                                                             agreement entered into by and
 11                 Post-petition Claim                      between ESP, on the one hand,
                    Amount: $300,000                         and the Debtor and its estate, on
 12                 (estimated)                              the other hand (the “Settlement
                                                             Agreement”).
 13                 Exit     Financing
                    Claim     Amount:                        Third position junior secured lien
 14
                    $150,000                                 on all of the Debtor’s assets,
 15                                                          except for the Bond Collateral,
                    Post-Confirmation                        Bond Account, and Net Bond
 16                 Claim:      Accruing                     Proceeds.
                    according           to
 17                 estimated        plan
 18                 projections.      See,
                    Ex.2 to the Plan.
 19
                    Claim amount:
 20                 Not      less than
                    $1,025,361.39
 21
 22                 Collateral:
                    Not Applicable to
 23                 the extent that ESP
                    is a consignor with a
 24                 true consignment;
                    but to the extent
 25                 ESP is a creditor, all
 26                 inventory held by
                    Debtor and proceeds
 27                 thereof

 28



                                                14
Case 2:22-bk-10266-BB     Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59             Desc
                           Main Document    Page 17 of 52

  1
  2               e. Class 4 – Allowed Claim of Escada Sourcing and Production LLC

  3                   Related to Secured Debt

  4        The following chart identifies the Plan’s treatment of Class 4 comprised of the allowed

  5 claim of Escada Sourcing and Production, LLC (“ESP”):
  6
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Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59       Desc
                         Main Document    Page 18 of 52

  1       CLASS     DESCRIPTION            IMPAIRED   TREATMENT
          #                                 VOTING
  2         4
  3                 Claimant:              Impaired   Class 4 shall have an allowed
                    ESP                               secured claim in the amount of
  4                                        Entitled   $19,044,356.07, principal, plus
                    Type of Claim:         to vote.   accrued unpaid fees and costs.
  5                 Allowed
                    secured claim                     Fourth position junior secured
  6                                                   lien on all of the Debtor’s assets,
  7                 Claim amount:                     except for the Bond Collateral,
                    $19,044,356.07,                   Bond Account, and Net Bond
  8                 plus         accrued              Proceeds.
                    interest, fees, and
  9                 costs
                                                      The order confirming the Plan
 10
                    Collateral:                       shall affirm the validity of the
 11                 All assets of the                 claim and lien held by ESP and
                    Debtor                            ratify the terms of the Settlement
 12                                                   Agreement entered into by and
                                                      between ESP, on the one hand,
 13                                                   and the Debtor and its estate, on
                                                      the other hand.
 14
 15
                                                      Interest rate: 8.0% per annum,
 16                                                   compounding
 17                                                   Loan maturity date extended to
 18                                                   12/31/2027.

 19                                                   Balloon payment of all principal
                                                      and accrued interest due on
 20                                                   12/31/2027.
 21                                                   Class 4 will not receive any
 22                                                   payments under the Plan during
                                                      the life of the Plan on account of
 23                                                   their Class 4 claims. Class 4
                                                      creditors will maintain their
 24                                                   claims and liens and interest will
                                                      continue to accrue but be unpaid
 25                                                   for the life of the Plan.
 26
                                                      Unless otherwise altered by the
 27                                                   Plan, other terms in the
                                                      prepetition loan and security
 28                                                   documents remain in full force



                                               16
Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59               Desc
                              Main Document    Page 19 of 52

  1                                                                and effect between the Debtor
                                                                   and the Class 4 claimant.
  2
  3
  4
  5
                    f. Classes of General Unsecured Claims
  6
             General unsecured claims are unsecured claims not entitled to priority under Bankruptcy
  7
      Code Section 507(a). The following chart identifies the Plan's treatment of the class containing
  8
      all of the Debtor’s non-priority general unsecured claims (see the Claims Chart for detailed
  9
      information about each general unsecured claim):
 10
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Case 2:22-bk-10266-BB         Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59               Desc
                               Main Document    Page 20 of 52

  1           CLASS       DESCRIPTION               IMPAIRED        TREATMENT
              #                                     (Y/N)
  2             5         All          general
  3                       unsecured claims of       Yes.            In full and final satisfaction of
                          the    Debtor    not                      each, any, and all of their claims
  4                       included in any           Entitled   to   against the Debtor, class 5 will
                          other class.              vote            receive 15 cents on the dollar for
  5                                                                 its aggregate allowed claims,
                          Total amount of                           reduced by a carve-out for the
  6                       class 5 claims is                         payment of (i) Substantial
  7                       $18,514,329.91.                           Contribution Claims, as defined
                                                                    below and (ii) the fees and costs
  8                       The Claims Chart                          of any official committee
                          attached as Exhibit                       appointed under 11 U.S.C. §
  9                       2 to the Disclosure                       1102      and      the     allowed
                          Statement and Plan                        administrative professional fees
 10
                          shows all claims                          for any such committee (the
 11                       which            were                     “Class 5 Recovery”). At least 7.5
                          scheduled by the                          cents* on the dollar for the Class
 12                       Debtor      and     all                   5 claim will be paid within
                          proofs of claim                           fifteen (15) days of the Effective
 13                       which have been                           Date (the “Cash On Hand
                          filed against the                         Payment”), and (ii) the balance
 14
                          Debtor that are in                        of the Class 5 Recovery still
 15                       Class 5. The Claims                       owing on its claim (i.e. up to an
                          Chart reflects the                        additional 7.5 cents) will be paid
 16                       anticipated amounts                       no later than the one-year
                          of claims lessors of                      anniversary of the Effective Date
 17                       Debtor’s          non-                    (the “Remainder Payment”).
 18                       residential        real                   Each holder of a class 5 allowed
                          property        leases                    claim shall receive its pro rata
 19                       capped       by       §                   share of the Class 5 Recovery. 5
                          502(b)(6).
 20                                                                 * Until the Class 5 Recovery has
                                                                    been paid in full, every dollar of
 21                                                                 Net Bond Proceeds recovered
 22                                                                 shall be paid to Class 5 allowed
                                                                    claim holders, pari passu, within
 23                                                                 30 days of receipt of the Net
                                                                    Bond Proceeds into the Bond
 24                                                                 Account. Thus, if funds in the
                                                                    Bond Account are sufficiently
 25
 26
      5
          On May 2, 2022, NYC Dept. of Finance filed proof of claim #39, asserting a priority
 27 unsecured claim in the amount of $904,777.63. This claim is under investigation, as the Debtor
      scheduled the priority claim as $349,209.25 and believes the proof of claim is overstated.
 28 However, if the claim is more than $399,209.35, the Class 5 Recovery could be reduced from a
      target of 15 cents to as low as 12.5 cents.


                                                        18
Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59        Desc
                         Main Document    Page 21 of 52

  1                                                   high within 15 days of the Plan
                                                      Effective Date, it is possible that
  2                                                   more than 7.5 cents on the dollar
                                                      could be distributed to Class 5.
  3
                                                      Class 5’s recovery shall be
  4                                                   capped at the Class 5 Recovery
                                                      and all Net Bond Proceeds in
  5                                                   excess of the Remainder
                                                      Payment due to Class 5 after
  6                                                   application of the Cash On Hand
                                                      Payment shall be payable to
  7
                                                      Class 1 pursuant to the terms
  8                                                   hereto. Notwithstanding the
                                                      foregoing,      if    the     NYC
  9                                                   Department         of     Finance’s
                                                      disputed claim is not settled at
 10                                                   the time that Net Bond Proceeds
 11                                                   are deposited into the Bond
                                                      Account, LNBYG, as disbursing
 12                                                   agent for the Bond Account and
                                                      Net Bond Proceeds, shall reserve
 13                                                   a portion of such proceeds equal
                                                      to 2.5 cents on the dollar of the
 14                                                   Class 5 claim (the “NYC Bond
 15                                                   Reserve”), until the NYC
                                                      Department of Finance claim is
 16                                                   settled or resolved. In the event
                                                      that the final NYC Department of
 17                                                   Finance claim is determined to
                                                      be greater than $399,209.35, then
 18                                                   the NYC Bond Reserve shall be
 19                                                   applied first to the excess due to
                                                      the NYC Department of Finance
 20                                                   and the remainder, if any, shall
                                                      be distributed to Class 5 as the
 21                                                   final distribution due to that class
                                                      hereunder.
 22
 23                                                   The Class 5 Lien shall be fully
                                                      extinguished       upon       the
 24                                                   distribution of payments, equal
                                                      to, in the aggregate, the Class 5
 25                                                   Recovery.
 26
                                                      Until paid pursuant to the terms
 27                                                   of the Plan, the holders of Class 5
                                                      claims shall have and share pari
 28                                                   passu, a first position lien on the



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Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59       Desc
                         Main Document    Page 22 of 52

  1                                                   recovery of the Net Bond
                                                      Proceeds and Bond Account.
  2
                                                      If the Court allows a substantial
  3
                                                      contribution claim under §
  4                                                   503(b) for the attorneys’ fees and
                                                      costs of unsecured creditors’
  5                                                   counsel       (a      “Substantial
                                                      Contribution Claim”), and/or if
  6                                                   any fees and costs of any official
                                                      committee appointed under 11
  7
                                                      U.S.C. § 1102 (together with the
  8                                                   allowed             administrative
                                                      professional fees for any such
  9                                                   committee, the “Committee
                                                      Fees”) are incurred, then such
 10                                                   claim(s) and/or Committee Fees
 11                                                   shall be deducted from the fifteen
                                                      cents on the dollar otherwise
 12                                                   available for the Class 5
                                                      Recovery, which will result in
 13                                                   Class 5 receiving less than fifteen
                                                      cents on the dollar. Although
 14                                                   such an apportionment will be
 15                                                   subject to court approval, the
                                                      Debtor will not object to how
 16                                                   Class 5 claim holders and their
                                                      creditors’ counsel seek to
 17                                                   apportion the Class 5 Recovery
                                                      among them. In no instance shall
 18                                                   the sum of the Class 5 Recovery,
 19                                                   the Substantial Contribution
                                                      Claims, and the Committee Fees
 20                                                   exceed (or be inferior to) the
                                                      number that is equal to fifteen
 21                                                   percent of the total amount of
                                                      allowed class 5 claims.
 22
 23                                                   Class 5 will receive neither post-
                                                      petition nor post-confirmation
 24                                                   interest on their claims. Class 5
                                                      and its attorneys will not be
 25                                                   entitled to any reimbursements,
                                                      expenses,     costs,   or    other
 26
                                                      payments, except as expressly
 27                                                   permitted above.

 28                                                   The Debtor may prepay Class 5



                                           20
Case 2:22-bk-10266-BB       Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                  Desc
                             Main Document    Page 23 of 52

  1                                                                at any time without prepayment
                                                                   penalty.
  2
                                                                   If checks are in amounts of less
  3
                                                                   than $50, such checks may be
  4                                                                deferred until the next annual
                                                                   payment until the aggregate due
  5                                                                to such creditor is in an amount
                                                                   of (i) at least $50 or (ii) the total
  6                                                                distribution owed to the creditor
                                                                   at 15 cents on the dollar of the
  7
                                                                   allowed claim.
  8
                                                                   In the event of a default in
  9                                                                payment, holders of Class 5
                                                                   allowed claims may seek
 10                                                                enforcement of Plan treatment in
 11                                                                the Bankruptcy Court as their
                                                                   exclusive remedy with the
 12                                                                Bankruptcy      Court    holding
                                                                   exclusive jurisdiction.
 13
                                                                   Attached as Exhibit 2 to the
 14                                                                Disclosure Statement and Plan is
 15                                                                a listing of the name and dollar
                                                                   amount of the class 5 allowed
 16                                                                claims expected to be paid by the
                                                                   Debtor pursuant to the terms of
 17                                                                the Plan, and the estimated
                                                                   prorated recovery.
 18
 19
 20
                    g. Class of Interest Holders
 21
            Interest holders are the parties who hold an ownership interest (i.e., equity interest) in
 22
 23 the Debtor.
 24         In compliance with 11 U.S.C. § 1123(a)(6), the Debtor’s charter, bylaws, and/or

 25 operating agreement will be amended to provide for the inclusion of a provision prohibiting the
 26 issuance of nonvoting equity securities, and providing, as to the several classes of securities
 27 possessing voting power, an appropriate distribution of such power among classes.
 28         The following chart identifies the Plan’s treatment of the class of interest holders:




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Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59               Desc
                              Main Document    Page 24 of 52

  1          CLASS        DESCRIPTION               IMPAIRED             TREATMENT
             #                                      (Y/N)
  2            6          Sole    member       of   Unimpaired           The class 6 equity interests
  3                       Debtor:                                        will retain its rights and
                                                    The     class 6      interests           without
  4                       Escada Store Services     interest holder is   impairment.
                          LLC                       conclusively
  5                                                 presumed        to   Class 6 receives no
                                                    have voted to        payments on account of its
  6                                                 accept the Plan      equity interests during the
  7                                                 by operation of      life of the Plan.
                                                    law
  8
  9          C. Means of Effectuating and Implementing the Plan
 10
                  1. Funding for the Plan
 11
             The Plan will be funded with the Debtor’s cash on hand on the Plan Effective Date,
 12
      recovery of the Bond Collateral into the Bond Account, exit financing, and continued business
 13
 14 operations. The Debtor’s plan projections of future income are attached as Exhibit 3 to the
 15 Disclosure Statement and Plan. On the Effective Date, Escada Sourcing and Production LLC
 16 (“Exit Financier”) will contribute exit financing in the amount of $150,000 subject to the terms
 17 of the settlement agreement (the “Settlement Agreement”) attached as Exhibit 4 to the
 18
      Disclosure Statement and Plan. The Settlement Agreement shall provide, in part, that the Exit
 19
      Financier will (i) provide a five-year, zero-interest, $150,000 loan to the Debtor, (ii) agree to
 20
      subordinate its claim for post-petition priority consignment fees, (iii) subordinate its claims
 21
 22 under Classes 3 and 4 to those of Class 5 to the extent provided for in the Debtor’s Plan and (iv)
 23 vote in favor of the Debtor’s Plan, in return for which the Debtor and the Estate shall
 24 irrevocably grant the Exit Financier and its wholly-owned subsidiary, Escada Online GmbH, a
 25
      complete release of claims, including, without limitation, for any preference or fraudulent
 26
      transfers or avoidance action claims.
 27
 28



                                                      22
Case 2:22-bk-10266-BB         Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                Desc
                               Main Document    Page 25 of 52

  1            After the Effective Date, the Debtor will fund payments through recovery of its import

  2 bonds.       As of the Petition Date, the Debtor holds prepetition bonds with total value of
  3 approximately $2.15 million, the collateral for which is cash in a money-market account to
  4
      support letters of credit (the “Bond Collateral”) with JP Morgan Chase Bank (“JPMC”). There
  5
      are $408,065.65 in offsetting liabilities against the Bond Collateral, resulting in approximately
  6
      $1,789,014.096 in expected bond proceeds (the “Net Bond Proceeds”). The Net Bond Proceeds
  7
  8 stems from two separate bonds: (i) a $700,000 bond, secured by $1,400,000 in Bond Collateral
  9 (the “Western Surety Bond”) and (ii) a $400,000 and a $350,000 bond, secured by $7500,000 in
 10 Bond Collateral, with $408,065.65 in offsetting liabilities (the “Lexon Bond”); and (iii) a 2%
 11
      cushion in the JPMC account in the amount of approximately $47,079.74 The Debtor will use
 12
      its commercially reasonable best efforts to liquidate or materially reduce the Bond Collateral.
 13
      The Debtor will distribute to Class 5 all Net Bond Proceeds from the Bond Collateral no later
 14
 15 than 30 days after the corresponding cash is actually received in the Bond Account, up to the
 16 remaining amount payable to Class 5 under the Class 5 Recovery following the initial payment
 17 made on the Plan’s effective. Notwithstanding the foregoing, if the NYC Department of
 18 Finance’s disputed claim is not settled at the time that Net Bond Proceeds are deposited into the
 19
      Bond Account, LNBYG, as disbursing agent for the Bond Account and Net Bond Proceeds,
 20
      shall reserve a portion of such proceeds equal to 2.5 cents on the dollar of the Class 5 claim (the
 21
      “NYC Bond Reserve”), until the NYC Department of Finance claim is settled or resolved. In the
 22
 23 event that the final NYC Department of Finance claim is determined to be greater than
 24 $399,209.35, then the NYC Bond Reserve shall be applied first to the excess due to the NYC
 25 Department of Finance and the remainder, if any, shall be distributed to Class 5 as the final
 26 distribution due to that class hereunder.
 27
 28
      6
          This figure includes $47,079.74 for a 2% cushion held by JPM Chase in the cash collateral


                                                       23
Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59             Desc
                              Main Document    Page 26 of 52

  1                  2. Composition of the Debtor After the Effective Date

  2          After the Effective Date, the Debtor shall be known as the “Reorganized Debtor.” The
  3 members of the Debtor will remain the same as the Debtor’s current members.
  4
                     3. Post-Confirmation Management and Compensation
  5
                The Reorganized Debtor will be managed by Escada Store Services LLC for no
  6
      compensation. The day-to-day management will be led by Kevin Walsh. As has been the
  7
  8 situation throughout the case, the Debtor asserts that Mr. Walsh is not an insider, his
  9 compensation has not been subject to insider-compensation procedures, and his compensation is
 10 not subject to disclosure. Mr. Walsh does not hold any direct or indirect ownership in the
 11
      Debtor.
 12
             In the ordinary course of business and subject to the business judgment rule, the
 13
      Reorganized Debtor may hire and/or terminate officers, directors, and/or managers, and
 14
 15 increase, decrease, and/or change the compensation of its managers, officers, and directors after
 16 the Effective Date so long as such alternations neither interfere with nor jeopardize payments to
 17 creditors under the Plan.
 18                  4. Disbursing Agent
 19
             The Reorganized Debtor will act as the disbursing agent under the Plan.             The
 20
      Reorganized Debtor will not charge any disbursing agent fee for making the Plan distributions.
 21
      With specific regards to the Bond Account and Net Bond Proceeds, however, LNBYG shall act
 22
 23 as the disbursing agent and shall only charge customary, hourly fees for such services, which
 24 shall be paid by the Debtor or Reorganized Debtor.
 25                   5. Objections to Claims
 26          The Debtor or the Reorganized Debtor, as the case may be, will file objections to all
 27
      claims that are inconsistent with the Debtor’s books and records or are otherwise objectionable
 28
      deposit account that backs the bonds.

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Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                Desc
                              Main Document    Page 27 of 52

  1 to the Debtor unless the Debtor deems the inconsistency to be insignificant. With respect to
  2 disputed claims that are not resolved prior to the Plan Effective Date, the Reorganized Debtor
  3 will have the authority, in its sole discretion, and in the reasonable exercise of its business
  4
      judgment, to settle or compromise any disputed claim without further notice or Court approval.
  5
      As provided by Section 502(c) of the Bankruptcy Code, the Bankruptcy Court may estimate any
  6
      contingent or unliquidated disputed claim for purposes of confirmation of the Plan. As of the
  7
  8 Effective Date, the Reorganized Debtor shall have the sole authority and standing to file any
  9 objections to claims following the confirmation of the Plan, and the Court shall retain
 10 jurisdiction over the Debtor, the Reorganized Debtor, and the Bankruptcy Case to resolve such
 11
      objections to claims following the confirmation of the Plan. Nothing contained in the Plan shall
 12
      constitute a waiver or release by the Debtor or the Reorganized Debtor of any rights of setoff or
 13
      recoupment, or of any defense, the Debtor or the Reorganized Debtor may have with respect to
 14
 15 any claim. The deadline for filing claims objections shall be 60 days after the Plan Effective
 16 Date. The Reorganized Debtor shall withhold from property to be distributed under the Plan
 17 and will place in reserve a sufficient amount of cash to be distributed on account of claims that
 18 are disputed and have not been allowed as of the date of distribution to creditors (the “Disputed
 19
      Claims”) of any particular class as if such claims were allowed in full, which shall not delay
 20
      payment to allowed claims that are not Disputed Claims.
 21
                 6. Avoidance Actions, Strong Arm Powers, and Causes of Action
 22
             All avoidance actions and strong-arm powers of a trustee under chapter 5 of the
 23
      Bankruptcy Code and any motions and/or adversary proceedings for substantive consolidation,
 24
      shall irrevocably vest in the Debtor and be transferred in total to the Reorganized Debtor upon
 25
      confirmation of the Plan. The deadline for filing avoidance actions under chapter 5 of the
 26
      Bankruptcy Code shall be the Plan Effective Date. The deadline for the Debtor or Reorganized
 27
      Debtor to file any non-avoidance action shall be the earlier of (i) the statute of limitations for
 28



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Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59            Desc
                              Main Document    Page 28 of 52

  1 such cause of action and (ii) two years after the Petition Date. Regardless of whether they are
  2 listed on the Debtor’s bankruptcy schedules of assets or specified in the Plan, all causes of
  3 action owned by the Debtor shall vest in the Reorganized Debtor unless specifically settled with
  4 such settlement approved by order of the Bankruptcy Court prior to confirmation of the Plan. A
  5 list of potential preferential avoidable transfers are listed as Exhibit 5 to the Disclosure
  6 Statement. The Debtor does not believe there are any causes of action for actual or fraudulent
  7 voidable transfers. The Debtor may have a case of action against Lexon Surety related to bond
  8 disputes, which is under investigation.
  9              7. Employment of Professionals by the Reorganized Debtor and Payment of

 10                 Professional Fees and Expenses After the Effective Date

 11          On and after the Effective Date, the Reorganized Debtor shall have the right to employ

 12 and compensate professionals as the Reorganized Debtor determines is appropriate and to
 13 compensate any such professionals without the need for any further order of the Bankruptcy
 14 Court.
 15              8. Exemption from Transfer Taxes

 16          Pursuant to section 1146(c) of the Bankruptcy Code, the issuance, transfer or exchange

 17 of a security, or the making or delivery of an instrument of transfer under a plan confirmed
 18 under section 1129 of the Bankruptcy Code, may not be taxed under any law imposing a stamp
 19 tax or similar tax. Transfers under the Plan that are exempt from taxes under section 1146(c) of
 20 the Bankruptcy Code include all transfers by the Debtor after the commencement of the
 21 Bankruptcy Case in contemplation of the Plan but prior to the Effective Date. The taxes from
 22 which such transfers are exempt include stamp taxes, recording taxes, sales and use taxes,
 23 transfer taxes, and other similar taxes.
 24               9. Distributions to Be Made Pursuant to the Plan

 25          Except as otherwise agreed to by the Reorganized Debtor in writing, distributions to be

 26 made to holders of allowed claims pursuant to the Plan may be delivered by regular mail,
 27 postage prepaid, to the address shown in the Debtor’s schedules, as they may from time to time
 28 be amended in accordance with Bankruptcy Rule 1009, or, if a different address is stated in a



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Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                 Desc
                              Main Document    Page 29 of 52

  1 proof of claim duly filed with the Bankruptcy Court, to such address. Checks issued to pay
  2 allowed claims shall be null and void if not negotiated within sixty (60) days after the date of
  3 issuance thereof.
  4              10. Exculpations and Releases

  5          To the maximum extent permitted by law, not any one of the Debtor, the Reorganized

  6 Debtor, Brookfield, Simon Property, 717 GFC LLC, Eden Roc LLC, Escada Sourcing and
  7 Production LLC, Mega International LLC, each of its/their management, each of its/their
  8 professionals employed or retained by any of them, whether or not by Bankruptcy Court order
  9 (collectively, the “Exculpated Parties”), shall have or incur any liability to any person or entity
 10 for any act taken or omission made in good faith in connection with or related to the formulation
 11 and implementation of the Plan, or a contract, instrument, release, or other agreement or
 12 document created in connection therewith, the solicitation of acceptances for or confirmation of
 13 the Plan, or the consummation and implementation of the Plan and the transactions
 14 contemplated therein, including the distribution of estate funds.
 15          For the avoidance of doubt the exculpation and release applies only to the events the

 16 Debtor’s case and Plan as set forth in the preceding paragraph. This is not – and shall not be
 17 construed to be – a release or exculpation of the Exculpated Parties for matters outside of the
 18 Debtor’s case and Plan as set forth in the preceding paragraph.
 19              11. Injunctions

 20          The Plan Confirmation Order shall enjoin the prosecution, whether directly, derivatively

 21 or otherwise, of any claim, obligation, suit, judgment, damage, demand, debt, right, cause of
 22 action, equitable remedy, liability or interest released, discharged, stayed, or terminated
 23 pursuant to the Plan, including, but not limited to claims for voidable transfers, substantive
 24 consolidation, successor liability, recharacterization, and equitable subordination. Except as
 25 provided in the Plan or the Plan Confirmation Order, as of the Plan Effective Date, all entities
 26
      that have held, currently hold or may hold a claim or other debt or liability or equitable remedy
 27
      that was stayed or is discharged or an interest or other right of an equity security holder that is
 28



                                                       27
Case 2:22-bk-10266-BB         Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                 Desc
                               Main Document    Page 30 of 52

  1 extinguished pursuant to the terms of the Plan are permanently enjoined from taking any of the
  2 following actions against: (I) (a) the Debtor, (b) the Reorganized Debtor, or (c) alleged alter
  3 egos of the Debtor or Reorganized Debtor, or (II) their property; on account of any such
  4 discharged claims, debts or liabilities or extinguished interests or rights: (i) commencing or
  5 continuing, in any manner or in any place, any action or other proceeding; (ii) enforcing,
  6 attaching, collecting or recovering in any manner any judgment, award, decree or order; (iii)
  7
      creating, perfecting or enforcing any lien or encumbrance; (iv) asserting a setoff, right of
  8
      subrogation or recoupment of any kind against any debt, liability or obligation due to the
  9
      Debtor; and (v) commencing or continuing any action in any manner, in any place, that does
 10
      not comply with or is inconsistent with the provisions of the Plan. By accepting distributions
 11
      pursuant to the Plan, each holder of an allowed claim receiving distributions pursuant to the
 12
      Plan shall be deemed to have specifically consented to the injunctions set forth in this Section.
 13
      The injunction described in this paragraph (the “Injunction”) is applicable to all creditors and
 14
      parties in interest with respect to claims or causes of action arising or existing prior to the Plan
 15
      Effective Date.
 16
 17          All creditors and parties in interest who are presented with a copy of the Plan

 18 Confirmation Order are charged with actual knowledge of the Injunction and with actual
 19 knowledge that the Injunction is applicable to said creditor and/or party in interest (“Actual
 20 Knowledge”), such that it is impossible for said creditor and/or party in interest to have a good
 21 faith belief that the Injunction does not apply to said creditor’s and/or party in interest’s claim
 22 or cause of action. Accordingly, any creditor and/or party in interest charged with such Actual
 23 Knowledge may be held in contempt for violating the Injunction, which contempt proceeding
 24 shall include an award of the Reorganized Debtor’s reasonable attorneys’ fees and costs for
 25 enforcing the Injunction against any such creditor and/or party in interest.
 26                 12. Executory Contracts and Unexpired Leases

 27          On the Effective Date, the Debtor will assume the executory contracts and unexpired

 28 leases set forth on Exhibit 6 to the Disclosure Statement and Plan with the cure amount set



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Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                  Desc
                              Main Document    Page 31 of 52

  1 forth on that exhibit. On the Effective Date, all of the Debtor’s remaining executory contracts
  2 and unexpired leases which have not previously been assumed or rejected by the Debtor shall
  3 be deemed to be rejected by the Debtor effective as of 11:59 PST on the day prior to the Plan
  4 Effective Date. THE BAR DATE FOR FILING A PROOF OF CLAIM BASED ON A
  5 CLAIM ARISING FROM THE REJECTION OF AN UNEXPIRED LEASE OR
  6 EXECUTORY CONTRACT WHICH IS REJECTED ON THE PLAN EFFECTIVE
  7 DATE WILL BE THIRTY (30) DAYS AFTER THE PLAN EFFECTIVE DATE. Any
  8 claim resulting from the Debtor’s rejection of an unexpired lease or executory contract will be
  9 barred if the proof of claim is not timely filed, unless the Court orders otherwise. Any allowed
 10 claim resulting from the Debtor’s rejection of an unexpired lease or executory contract will
 11 constitute a class 5 allowed claim, subject to the limitations set forth in 11 U.S.C. § 502(b) and
 12 other applicable sections of the Bankruptcy Code.
 13                 13. Changes in Rates Subject to Regulatory Commission Approval

 14          The Debtor is not subject to governmental regulatory commission approval of its rates.

 15                 14. Retention of Jurisdiction

 16          After confirmation of the Plan and occurrence of the Plan Effective Date, in addition to

 17 jurisdiction which exists in any other court, the Bankruptcy Court will retain such jurisdiction
 18 as is legally permissible including for the following purposes:
 19                  i.     To resolve any and all disputes regarding the operation and interpretation

 20 of the Plan and the Plan Confirmation Order;
 21                  ii.    To determine the allowability, classification, or priority of claims and

 22 interests upon objection by the Debtor or the Reorganized Debtor and to consider any objection
 23 to claim or interest whether such objection is filed before or after the Effective Date;
 24                  iii.   To determine the extent, validity and priority of any lien asserted against

 25 property of the Debtor and property of the Debtor’s estate;
 26                  iv.    To construe and take any action to enforce the Plan, the Plan

 27 Confirmation Order, and any other order of the Bankruptcy Court, issue such orders as may be
 28 necessary for the implementation, execution, performance, and consummation of the Plan, the



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Case 2:22-bk-10266-BB       Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                Desc
                             Main Document    Page 32 of 52

  1 Plan Confirmation Order, and all matters referred to in the Plan and the Plan Confirmation
  2 Order, and to determine all matters that may be pending before this Bankruptcy Court in this
  3 Bankruptcy Case on or before the Effective Date with respect to any person or entity related
  4 thereto;
  5                 v.      To determine any and all applications for allowance of compensation and

  6 reimbursement of expenses of professionals for the period on or before the Effective Date;
  7                 vi.     To determine any request for payment of administrative expenses;

  8                 vii. To determine motions for the rejection, assumption, or assignment of

  9 executory contracts or unexpired leases filed before the Effective Date and the allowance of any
 10 claims resulting therefrom;
 11                 viii.   To determine all applications, motions, adversary proceedings, contested

 12 matters, and any other litigated matters instituted during the pendency of the Bankruptcy Case
 13 whether before, on, or after the Effective Date;
 14                 ix.     To determine such other matters and for such other purposes as may be

 15 provided in the Plan Confirmation Order;
 16                 x.      To modify the Plan under Section 1127 of the Bankruptcy Code in order

 17 to remedy any apparent defect or omission in the Plan or to reconcile any inconsistency in the
 18 Plan so as to carry out its intent and purpose upon motion by the Reorganized Debtor;
 19                 xi.     Except as otherwise provided in the Plan and the Plan Confirmation

 20 Order, to issue injunctions, to take such other actions or make such other orders as may be
 21 necessary or appropriate to restrain interference with the Plan or the Plan Confirmation Order,
 22 or the execution or implementation by any person or entity of the Plan or the Plan Confirmation
 23 Order;
 24                 xii. To issue such orders in aid of consummation of the Plan and the Plan

 25 Confirmation Order, notwithstanding any otherwise applicable nonbankruptcy law, with respect
 26 to any person or entity, to the fullest extent authorized by the Bankruptcy Code or Bankruptcy
 27 Rules;
 28                 xiii; To enter a discharge, under 11 U.S.C. § 1141(d), if applicable; and



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Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59              Desc
                              Main Document    Page 33 of 52

  1                 xiv.    To enter a final decree closing the Bankruptcy Case.

  2          III.   EFFECT OF CONFIRMATION OF THE PLAN

  3                 A. Discharge.
  4
             The Debtor will receive a discharge under the Plan pursuant to and in accordance with
  5
      the provisions of Section 1141 of the Bankruptcy Code because there has not been a liquidation
  6
      of all or substantially all of the property of the Debtor’s estate and because the Reorganized
  7
      Debtor will be continuing the Debtor’s current business operations.
  8
                    B. Modification of the Plan.
  9
 10          The Debtor may modify the Plan at any time before confirmation. However, the Court

 11 may require a new disclosure statement and/or re-voting on the Plan if the Debtor modifies the
 12 Plan before confirmation. The Debtor may also seek to modify the Plan at any time after
 13 confirmation of the Plan so long as (1) the Plan has not been substantially consummated and (2)
 14 the Court authorizes the proposed modifications after notice and a hearing.
 15                 C. Post-Confirmation Status Reports.
 16
             Until a final decree closing the Debtor’s chapter 11 case is entered, the Reorganized
 17
      Debtor will file quarterly post-confirmation status reports with the Court explaining what
 18
      progress has been made toward consummation of the confirmed Plan.
 19
                    D. Post-Confirmation Operations
 20
             On and after the Effective Date, the Debtor will operate as the “Reorganized Debtor,”
 21
 22 and not as a “debtor in possession,” and will not be subject to motion practice and court
 23 approval for, inter alia, (1) employing and compensating professionals for services rendered on
 24 and after the Effective Date; (2) obtaining financing; (3) entering into transactions outside the
 25 ordinary course of business; (4) budget approval; (5) compensating insiders; or (6) sale of
 26 substantially all or any part of the Reorganized Debtor’s business.
 27                 E. Post-Confirmation Conversion/Dismissal.
 28



                                                      31
Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59              Desc
                              Main Document    Page 34 of 52

  1          A creditor or any other party in interest may bring a motion to convert or dismiss the

  2 Bankruptcy Case under Section 1112(b) of the Bankruptcy Code after the Plan is confirmed,
  3 but before the final decree is entered, if there is a default in performing the Plan. If the
  4 Bankruptcy Court orders the Bankruptcy Case converted to chapter 7 after the Plan is
  5 confirmed, then all property that had been property of the Debtor’s chapter 11 estate that has
  6 not been disbursed pursuant to the Plan will revest in the chapter 7 estate, and the automatic
  7
      stay will be reimposed upon the revested property, but only to the extent that relief from stay
  8
      was not previously authorized by the Bankruptcy Court during the Bankruptcy Case, and, the
  9
      Bond Lien shall remain in place, and the Settlement shall remain in place.           The Plan
 10
      Confirmation Order may also be revoked under very limited circumstances. The Bankruptcy
 11
      Court may revoke the Plan Confirmation Order if it was procured by fraud and if a party in
 12
      interest brings an adversary proceeding to revoke confirmation before 180 days after the entry
 13
      of the Plan Confirmation Order pursuant to 11 U.S.C. § 1144.            If the Debtor and/or
 14
      Reorganized Debtor successfully defends against an adversary proceeding or other lawsuit to
 15
      revoke discharge, revoke the Plan Confirmation Order, or otherwise allege confirmation by
 16
 17 fraud, then Debtor and/or Reorganized Debtor shall be entitled to an award of reasonable
 18 attorneys’ fees and costs against any such plaintiff and its counsel.
 19                   F. Final Decree.

 20          Once this estate has been fully administered as referred to in Bankruptcy Rule 3022, the
 21 Reorganized Debtor will file a motion with the Bankruptcy Court to obtain a final decree to
 22
      close the Bankruptcy Case. The Reorganized Debtor will be responsible for the timely payment
 23
      of all fees incurred pursuant to 28 U.S.C. § 1930(a)(6).
 24
      Presented By:
 25
      LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
 26
 27 By:      /s/ John-Patrick M. Fritz
             JOHN-PATRICK M. FRITZ
 28          Attorneys for Chapter 11



                                                       32
Case 2:22-bk-10266-BB    Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59   Desc
                          Main Document    Page 35 of 52

  1       Debtor and Plan Proponent

  2 Escada America LLC
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Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59   Desc
                         Main Document    Page 36 of 52




                                 Exhibit 1
                             Intentionally Omitted
Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59   Desc
                         Main Document    Page 37 of 52




                                 Exhibit 2
                                                 Case 2:22-bk-10266-BB                              Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                                                                     Desc
                                                                                                     Main Document    Page 38 of 52


                                                                          FILED CLAIM                                             SCHEDULED CLAIM                       OBJECTION                                       PROPOSED TREATMENT OF CLAIM


                                                                                                                                                                                          Proposed Exit                                 Proposed      Proposed      Proposed
                                         Claim   Date Claim                                          General      Schedule "D" Schedule       Schedule "F"                Basis of          Financing       Proposed      Proposed       Priority     Unsecured     Unsecured
                    Creditor              No.      Filed       Admin         Secured     Priority   Unsecured       Secured    "E" Priority    Unsecured      C/U/D   Objection, If Any      Amount       Admin Amount Secured Amount    Amount        Amount        Payout
Internal Revenue Service                  2A       5/5/22                                $500.00                                  $0.00                                                                                                  $500.00
County of Los Angeles                      9       2/9/22                               $8,537.47                                 $0.00                                                                                                 $8,537.47
California Franchise Tax Board            17      2/24/22                                $800.00                                  $0.00                                                                                                  $800.00
California Employment Dev. Dept.                                                                                                  $0.00
WWD                                                                                                                                               $258.00                                                                                               $258.00         $38.70
Woodbury Common Premium Outlets                                                                                                                $108,024.00    CUD                                                                                        $0.00          $0.00
WASTE MANAGEMENT                                                                                                                                 $1,173.00                                                                                             $1,173.00       $175.95
Wage Works, Inc.                                                                                                                                  $585.00                                                                                               $585.00         $87.75
Verizon Wireless                                                                                                                                $11,917.00                                                                                            $11,917.00      $1,787.55
VERIZON                                                                                                                                           $125.00                                                                                               $125.00         $18.75
VECTOR SECURITY INC                                                                                                                               $150.00                                                                                               $150.00         $22.50
UPS SUPPLY CHAIN SOLUTIONS, INC.                                                                                                                   $25.00                                                                                                $25.00          $3.75
UNITED PARCEL SERVICE                                                                                                                             $146.00                                                                                               $146.00         $21.90
UNITED HEALTH CARE JP MORGAN                                                                                                                     $1,145.00                                                                                             $1,145.00       $171.75
TOWN OF PALM BEACH                                                                                                                                 $55.00                                                                                                $55.00          $8.25
THYSSEN KRUPP ELEVATOR                                                                                                                           $1,055.00                                                                                             $1,055.00       $158.25
THOMSON REUTERS                                                                                                                                  $2,596.00                                                                                             $2,596.00       $389.40
THOMPSON TAX & ASSOCIATES                                                                                                                        $2,352.00                                                                                             $2,352.00       $352.80
THE JEWISH WEEK INC.                                                                                                                              $648.00                                                                                               $648.00         $97.20
The Epoch Times Association Inc.                                                                                                                  $786.00                                                                                               $786.00        $117.90
TAX FREE SHOPPING, LTD                                                                                                                             $85.00                                                                                                $85.00         $12.75
TAMI HOGAN                                                                                                                                       $1,061.00                                                                                             $1,061.00       $159.15
Talent Staff, LLC                                                                                                                                $3,603.00                                                                                             $3,603.00       $540.45
T & G INDUSTRIES                                                                                                                                 $8,000.00                                                                                             $8,000.00      $1,200.00
Syzygy Performance GmbH                                                                                                                        $145,914.00                                                                                           $145,914.00     $21,887.10
St Moritz Security Services, Inc.                                                                                                               $19,523.00                                                                                            $19,523.00      $2,928.45
SPG HOUSTON HOLDINGS,LP                    4      1/28/22      $100.00                              $13,226.39                                 $274,232.00    CUD                                            $100.00                                  $13,226.39      $1,983.96
SOUTHWEST SIGN COMPANY                                                                                                                           $6,151.00                                                                                             $6,151.00       $922.65
SOUTH COAST PLAZA                                                                                                                               $10,064.00    CUD                                                                                        $0.00          $0.00
SoCalGas                                                                                                                                            $0.00                                                                                                $0.00           $0.00
Sirina Protection Systems                                                                                                                         $466.00                                                                                               $466.00         $69.90
Sing Tao Newspapers New York LLC                                                                                                                  $462.00                                                                                               $462.00         $69.30
Simon Property Group LP                                                                                                                         $55,572.00     CD                                                                                        $0.00          $0.00
SHIFT 4 CORPORATION                                                                                                                               $533.00                                                                                               $533.00         $79.95
SHAROTTE BOUTIQUE                                                                                                                                $1,335.00                                                                                             $1,335.00       $200.25
SEW GOOD                                                                                                                                          $980.00                                                                                               $980.00        $147.00
SEN Graphics, Inc.                                                                                                                                $556.00                                                                                               $556.00         $83.40
Sedgwick Claims Management                                                                                                                         $14.00                                                                                                $14.00          $2.10
Scottsdale Fashion Square LLC             32      3/27/22     $27,270.76                            $148,006.67                                $116,909.00    CUD                                          $27,270.76                                $148,006.67     $22,201.00
SCM                                                                                                                                             $5,441.00                                                                                              $5,441.00       $816.15
SCHINDLER ELEVATOR CORPORATION                                                                                                                   $3,241.00                                                                                             $3,241.00       $486.15
Schaefer Trans. Inc.                                                                                                                            $17,780.00                                                                                            $17,780.00      $2,667.00
SAMSON MANAGEMENT CORP.                                                                                                                       $1,343,149.00                                                                                         $1,343,149.00   $201,472.35
RUSSIAN BAZAAR                                                                                                                                     $83.00                                                                                                $83.00         $12.45
Runway Waiters                                                                                                                                   $1,083.00                                                                                             $1,083.00       $162.45
Reliable Products Supply                                                                                                                          $363.00                                                                                               $363.00         $54.45
REGENCY ENTERPRISES INC                                                                                                                         $17,167.00                                                                                            $17,167.00      $2,575.05
RAVE FABICARE INC.                                                                                                                                $188.00                                                                                               $188.00         $28.20
Ralph's Sewing and Vacuum                                                                                                                         $636.00                                                                                               $636.00         $95.40
QSCS OF NY, INC.                                                                                                                                  $945.00                                                                                               $945.00        $141.75
Pyke Mechanical Inc.                                                                                                                              $650.00                                                                                               $650.00         $97.50
Premium Outlet Partners LP                 3      1/28/22     $5,328.85                             $841,749.01                                $102,433.00                                                  $5,328.85                                $841,749.01    $126,262.35
PITNEY BOWES PURCHASE POWER                                                                                                                      $4,270.00                                                                                             $4,270.00       $640.50
PITNEY BOWES GLOBAL                                                                                                                               $828.00                                                                                               $828.00        $124.20
PALM BEACH FIRE RESCUE                                                                                                                            $121.00                                                                                               $121.00         $18.15
PALM BEACH COUNTY                                                                                                                                 $180.00                                                                                               $180.00         $27.00
Orkin Pest Control                                                                                                                                $353.00                                                                                               $353.00         $52.95
Orkin , 875- N Houston Comm                                                                                                                       $354.00                                                                                               $354.00         $53.10
ORKIN                                                                                                                                             $545.00                                                                                               $545.00         $81.75
ORACLE ELEVATOR COMPANY                                                                                                                           $700.00                                                                                               $700.00        $105.00
OPTUS INC                                                                                                                                         $770.00                                                                                               $770.00        $115.50
Optimum                                                                                                                                         $1,390.00                                                                                              $1,390.00       $208.50
Oprandy's Fire & Safety Equipment                                                                                                                  $44.00                                                                                                $44.00          $6.60
Opentext                                  19       3/2/22                                            $3,164.50                                  $4,481.00                                                                                              $4,481.00       $672.15
ONE TIME VENDOR_Customer refund_ C.ICHIK                                                                                                          $876.00                                                                                               $876.00        $131.40
One Image Protection INC                                                                                                                         $1,098.00                                                                                             $1,098.00       $164.70
OCTAVIO PARRA                                                                                                                                     $165.00                                                                                               $165.00         $24.75



                                                                                                                                  Page 1 of 4
                                                                                                                      Escada Plan Disclosure Statment Ex.2
                                                                                                                                 May 12, 2022
                                              Case 2:22-bk-10266-BB                             Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                                                                    Desc
                                                                                                 Main Document    Page 39 of 52


                                                                       FILED CLAIM                                            SCHEDULED CLAIM                      OBJECTION                                       PROPOSED TREATMENT OF CLAIM


                                                                                                                                                                                     Proposed Exit                                 Proposed      Proposed    Proposed
                                      Claim   Date Claim                                         General      Schedule "D" Schedule       Schedule "F"               Basis of          Financing       Proposed      Proposed       Priority     Unsecured   Unsecured
              Creditor                 No.      Filed       Admin         Secured    Priority   Unsecured       Secured    "E" Priority    Unsecured     C/U/D   Objection, If Any      Amount       Admin Amount Secured Amount    Amount        Amount      Payout
NVEnergy                                                                                                                                     $251.00                                                                                              $251.00       $37.65
Nestle Waters North America                                                                                                                  $275.00                                                                                              $275.00       $41.25
Mutual Security Services, Inc                                                                                                                $500.00                                                                                              $500.00       $75.00
MUSE MANAGEMENT, INC                                                                                                                       $31,690.00                                                                                           $31,690.00    $4,753.50
MR HANDYMAN OF CALIFORNIA                                                                                                                   $1,035.00                                                                                            $1,035.00     $155.25
Mood Media                                                                                                                                  $4,899.00                                                                                            $4,899.00     $734.85
Monika Arden                                                                                                                                $2,421.00                                                                                            $2,421.00     $363.15
Modern Luxury                                                                                                                                $467.00                                                                                              $467.00       $70.05
MILLENIUM SIGNS & DISPLAY, INC.                                                                                                             $1,456.00                                                                                            $1,456.00     $218.40
MI9 Retail - Raymark ULC                                                                                                                   $12,227.00                                                                                           $12,227.00    $1,834.05
METROPOLITAN TELECOMM.                                                                                                                     $65,087.00                                                                                           $65,087.00    $9,763.05
Melanie Theodoridis                                                                                                                          $212.00                                                                                              $212.00       $31.80
Master Touch Cleaners, Inc.                                                                                                                  $990.00                                                                                              $990.00      $148.50
Master Mechanical Services, Inc                                                                                                              $361.00                                                                                              $361.00       $54.15
MARY TANABE                                                                                                                                  $300.00                                                                                              $300.00       $45.00
Mark-Alan Harmon                                                                                                                              $70.00                                                                                               $70.00       $10.50
Margaret's Cleaners                    23      3/16/22                                           $4,433.73                                  $2,609.00                                                                                            $2,609.00     $391.35
Mangia 57th Inc.                                                                                                                             $341.00                                                                                              $341.00       $51.15
Madeline Ungar                                                                                                                               $653.00                                                                                              $653.00       $97.95
Lea Journo Salon                                                                                                                             $430.00                                                                                              $430.00       $64.50
Las Vegas North Outlets, LLC            5      1/28/22     $3,387.18                            $750,769.87                               $266,918.00    CUD                                           $3,387.18                               $750,769.87   $112,615.48
LA MODELS                                                                                                                                    $227.00                                                                                              $227.00       $34.05
KUCKER MARINO WINIARSKY & BITTENS,                                                                                                          $3,975.00                                                                                            $3,975.00     $596.25
Kim Murphy                                                                                                                                   $226.00                                                                                              $226.00       $33.90
Keter Environmental Services, Inc                                                                                                           $1,609.00                                                                                            $1,609.00     $241.35
Joyce A. Pence                                                                                                                               $174.00                                                                                              $174.00       $26.10
Johnson Controls Security Solutions    36      3/29/22                                          $59,041.10                                 $55,742.00                                                                                           $55,742.00    $8,361.30
JOHNSON CONTROLS FIRE PROTECTION LP    35      3/29/22                                           $569.46                                     $514.00                                                                                              $514.00       $77.10
Jive Communications, Inc                                                                                                                    $1,404.00                                                                                            $1,404.00     $210.60
Jana Cori Coke                                                                                                                               $387.00                                                                                              $387.00       $58.05
J.D Coins Inc.                                                                                                                               $761.00                                                                                              $761.00      $114.15
INTERNATIONAL SILKS & WOOLENS                                                                                                                $167.00                                                                                              $167.00       $25.05
Inter Trade Systems Inc                                                                                                                      $321.00                                                                                              $321.00       $48.15
INGENIEURB RO RUCKPAUL &                                                                                                                     $389.00                                                                                              $389.00       $58.35
IMPERIAL NETWORK GROUP INC                                                                                                                  $1,287.00                                                                                            $1,287.00     $193.05
IMPERIAL COMMERCIAL CLEANING                                                                                                                 $708.00                                                                                              $708.00      $106.20
HWS Informationssysteme GmbH                                                                                                                $4,531.00                                                                                            $4,531.00     $679.65
Hospitality Services, Inc                                                                                                                   $3,831.00                                                                                            $3,831.00     $574.65
Hedy Bentel                                                                                                                                 $1,055.00                                                                                            $1,055.00     $158.25
HAWAII MEDICAL SERVICE ASSOCIATION                                                                                                          $4,575.00                                                                                            $4,575.00     $686.25
HAIG SERVICE CORPORATION                                                                                                                     $310.00                                                                                              $310.00       $46.50
Green Peak Building Services, Inc                                                                                                           $2,302.00                                                                                            $2,302.00     $345.30
GRANT MCCARTHY GROUP LLC                                                                                                                   $11,701.00                                                                                           $11,701.00    $1,755.15
Granite Telecommunications                                                                                                                  $2,473.00                                                                                            $2,473.00     $370.95
Global Facility Management & Constr                                                                                                        $25,000.00                                                                                           $25,000.00    $3,750.00
General Information Solutions, LLC                                                                                                            $22.00                                                                                               $22.00        $3.30
Fusion Cloud Company, LLC                                                                                                                    $100.00                                                                                              $100.00       $15.00
Funaro & co., P.C.                                                                                                                         $38,565.00     CD                                                                                       $0.00         $0.00
Frontier Communications                                                                                                                      $820.00                                                                                              $820.00      $123.00
Freecom Luxury Art Book, LLC                                                                                                                $6,955.00                                                                                            $6,955.00    $1,043.25
FRACHT FWO,INC                                                                                                                               $615.00                                                                                              $615.00       $92.25
FLORIDA POWER & LIGHT                   1      1/21/22                                           $2,887.17                                  $1,005.00                                                                                           $2,887.17      $433.08
Florida Pest Control                                                                                                                         $502.00                                                                                              $502.00       $75.30
FASHION LOGISTICS, INC.                                                                                                                    $15,867.00                                                                                           $15,867.00    $2,380.05
FANDL, LLC                                                                                                                                  $1,066.00                                                                                            $1,066.00     $159.90
Express Parking, Management, Inc.                                                                                                            $599.00                                                                                              $599.00       $89.85
EXPRESS FIRE PROTECTION                                                                                                                      $240.00                                                                                              $240.00       $36.00
Elaine Cohen                                                                                                                                 $877.00                                                                                              $877.00      $131.55
El Paseo Collection North                                                                                                                   $6,554.00    CUD                                                                                       $0.00         $0.00
Eddie Love (Petty Cash)                                                                                                                       $60.00                                                                                               $60.00        $9.00
Dutch Express, LLC                                                                                                                            $25.00                                                                                               $25.00        $3.75
Direct Construction Company Limited    18       3/2/22                                           $3,600.92                                  $1,651.00                                                                                           $3,600.92      $540.14
Cushman and Wakefield                                                                                                                      $43,151.00     CD                                                                                    $43,151.00    $6,472.65
CT CORPORATION SYSTEM                                                                                                                       $1,952.00                                                                                            $1,952.00     $292.80
Crown Castle Fiber LLC                                                                                                                     $15,910.00                                                                                           $15,910.00    $2,386.50
Country Club Cleaners                                                                                                                        $380.00                                                                                              $380.00       $57.00
CONDE NAST PUBLICATIONS                                                                                                                    $23,300.00                                                                                           $23,300.00    $3,495.00



                                                                                                                              Page 2 of 4
                                                                                                                  Escada Plan Disclosure Statment Ex.2
                                                                                                                             May 12, 2022
                                                   Case 2:22-bk-10266-BB                                   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                                                                       Desc
                                                                                                            Main Document    Page 40 of 52


                                                                            FILED CLAIM                                                    SCHEDULED CLAIM                       OBJECTION                                       PROPOSED TREATMENT OF CLAIM


                                                                                                                                                                                                   Proposed Exit                                 Proposed       Proposed        Proposed
                                           Claim   Date Claim                                               General        Schedule "D" Schedule       Schedule "F"                Basis of          Financing       Proposed      Proposed       Priority      Unsecured       Unsecured
                    Creditor                No.      Filed       Admin         Secured        Priority     Unsecured         Secured    "E" Priority    Unsecured      C/U/D   Objection, If Any      Amount       Admin Amount Secured Amount    Amount         Amount          Payout
Concur Technologies Inc                                                                                                                                   $2,430.00                                                                                              $2,430.00         $364.50
Computop, Inc.                                                                                                                                            $1,411.00                                                                                              $1,411.00         $211.65
Computop GmbH                                                                                                                                               $21.00                                                                                                 $21.00            $3.15
ComplyRight, Inc. dba HR Direct                                                                                                                            $617.00                                                                                                $617.00           $92.55
COMMONWEALTH EDISON                                                                                                                                       $1,776.00                                                                                              $1,776.00         $266.40
Comcast Business                                                                                                                                           $110.00                                                                                                $110.00           $16.50
Comcast Business                                                                                                                                           $125.00                                                                                                $125.00           $18.75
CMS MECHANICAL SERVICE CO.                                                                                                                                $1,414.00                                                                                              $1,414.00         $212.10
CLEANER'S SUPPLYS INC                                                                                                                                       $81.00                                                                                                 $81.00           $12.15
CITY OF WEST PALM BEACH                                                                                                                                    $388.00                                                                                                $388.00           $58.20
City of Beverly Hills                                                                                                                                      $275.00                                                                                                $275.00           $41.25
CITY EXPEDITOR, INC.                                                                                                                                       $755.00                                                                                                $755.00          $113.25
CIT                                         40       5/9/22                                                $49,170.37                                    $14,896.00                  Late                                                                       $49,170.37        $7,375.56
Cision US, I                                                                                                                                              $6,694.00                                                                                              $6,694.00        $1,004.10
Cisco Systems Capital Corporation                                                                                                                        $31,960.00                                                                                             $31,960.00        $4,794.00
Chicago Oak Street Partners, LLC            20      3/12/22                                               $837,026.18                                   $554,764.00    CUD                                                                                     $837,026.18      $125,553.93
CHETRIT 1412 LLC                            16      2/21/22                                               $250,000.00                                   $250,000.00    CU                                                                                      $250,000.00       $37,500.00
CenturyLink                                  8       2/3/22                                                 $700.25                                        $689.00                                                                                                $700.25          $105.04
Carlton Technologies, Inc                                                                                                                                  $269.00                                                                                                $269.00           $40.35
BUREAU OF ELEVATOR SAFETY                                                                                                                                  $274.00                                                                                                $274.00           $41.10
Borden Ladner Gervais, LLP                                                                                                                                $1,480.00                                                                                              $1,480.00         $222.00
BOGUSLAW SANKOWSKI                                                                                                                                         $941.00                                                                                                $941.00          $141.15
Blue Print AG                                                                                                                                              $598.00                                                                                                $598.00           $89.70
Bal Harbour Shops LLLP                                                                                                                                   $81,623.00    CUD                                                                                         $0.00             $0.00
AVALARA INC                                                                                                                                               $4,649.00                                                                                              $4,649.00         $697.35
Atlantic Broadband                                                                                                                                          $78.00                                                                                                 $78.00           $11.70
Atlantic Broadband                                                                                                                                         $733.00                                                                                                $733.00          $109.95
ASA Cleaning Services Corp                                                                                                                               $22,255.00                                                                                             $22,255.00        $3,338.25
Archive Systems, Inc.                                                                                                                                    $11,515.00                                                                                             $11,515.00        $1,727.25
Angel Tailor                                                                                                                                               $152.00                                                                                                $152.00           $22.80
AMERICAN EXPRESS                            13                                                             $21,674.03                                    $59,401.00     D                                                                                       $21,674.03        $3,251.10
American Commercial Equities Three,                                                                                                                      $29,341.00    CUD                                                                                         $0.00             $0.00
Amanda Huang                                                                                                                                                $55.00                                                                                                 $55.00            $8.25
ALPINE BUSINESS SYSTEMS                                                                                                                                  $10,988.00                                                                                             $10,988.00        $1,648.20
Alliant Insurance Services, Inc.                                                                                                                        $348,375.00                                                                                            $348,375.00       $52,256.25
Alliance Pro Services LLC                                                                                                                                  $278.00                                                                                                $278.00           $41.70
ALA MOANA CENTER ASSOCIATION                                                                                                                              $1,198.00    CUD                                                                                         $0.00             $0.00
Ala Moana Anchor Acquisition, LLC           14      2/18/22     $7,220.63                                 $1,382,622.26                                 $264,681.00    CUD                                           $7,220.63                                $1,382,622.26     $207,393.34
ABALON EXTERMINATING CO. INC.                                                                                                                              $450.00                                                                                                $450.00           $67.50
[Beverly Hills Wilshire Hotel]              15      2/18/22                                               $2,441,373.90                                $2,546,815.33   CUD                                                                                    $2,441,373.90     $366,206.09
717 GFC LLC                                 24      3/23/22                                                $5,108,857.92                               $5,055,143.00   CUD                                                                                      $5,108,857.92   $766,328.69
693 Fifth Owner LLC                                                                                                                                       $1,641.00    CUD                                                                                         $0.00             $0.00
Harris County Water Control                  6      1/31/22                    $1,546.80                                                                                                                                             $1,546.80                                       $0.00
Harris County Municipal Utility District     7      1/31/22                    $8,204.13                                                                                                                                             $8,204.13                                       $0.00
The Retail Property Trust                   10      3/10/22                                                  $440,000.00                                                                                                                                          $440,000.00    $66,000.00
Sawgrass Mills Phase IV LLC                 11      2/10/22     $4,205.33                                    $543,937.97                                                                                             $4,205.33                                    $543,937.97    $81,590.70
Premium Outlet Partners LP                  12      2/10/22     $5,326.37                                    $417,439.45                                                                                             $5,326.37                                    $417,439.45    $62,615.92
MI9 Retail − Raymark ULC                   21A      3/15/22                                                      $266.61                                                                                                                                              $266.61       $39.99
Fedex Corporate Services, Inc               22      3/16/22                                                    $2,677.50                                                                                                                                            $2,677.50      $401.63
Great Northern Insurance                    25      3/24/22                                                  $211,141.65                                                                                                                                          $211,141.65    $31,671.25
Chubb Insurance Company                     26      3/24/22                                                  $20,576.73                                                                                                                                           $20,576.73      $3,086.51
Vigilant Insurance Company                  27      3/24/22                                                  $67,260.00                                                                                                                                           $67,260.00     $10,089.00
Federal Insurance Company                   28      3/24/22                                                   $1,788.23                                                                                                                                            $1,788.23       $268.23
Stephanie Buono                             29      3/24/22                                                   $40,411.80                                  $0.00        CUD                                                                                         $40,411.80     $6,061.77
the Neiman Marcus Group                     30      3/24/22                    $84,533.42                   $230,085.72                                                                                                                                          $230,085.72     $34,512.86
Manhattan Telecommunications                31      3/25/22                                                   $86,806.03                                                                                                                                           $86,806.03
Corporation/MetTel                                                                                                                                                                                                                                                              $13,020.90
United Parcel Service                       33      3/28/22                                                 $235,709.96                                                                                                                                          $235,709.96    $35,356.49
Suzanne Humbert                             37      3/29/22                                                 $300,960.00                                   $0.00        CUD                                                                                       $300,960.00    $45,144.00
Rebecca Castillo                                                                                                                                          $0.00        CUD                                                                                   $0.00                $0.00
NYC Department of Finance                   39       5/2/22                                 $904,777.63                                  $349,209.25    $68,819.41      C           Under                                                        $349,209.25    $68,819.41
                                                                                                                                                                                 Investigation                                                                                   $10,322.91
Ann Marie Di Ionna                                                                                                                                      $99,915.19                                                                                              $99,915.19       $14,987.28
Escada Shared Services Ltd.                                                                                                                             $32,000.00                                                                                           $0.00                 $0.00
Dunnwright Services Inc.                                                                                                                                   $0.00                                                                                             $0.00                 $0.00
Site Crew Inc.                                                                                                                                             $0.00                                                                                             $0.00                 $0.00
Worth-Pondfield LLC                        34A      3/28/22     $43,666.35                                $1,462,737.72                                $1,343,149.00   CUD                                          $43,666.35                                 $1,462,737.72    $219,410.66



                                                                                                                                           Page 3 of 4
                                                                                                                               Escada Plan Disclosure Statment Ex.2
                                                                                                                                          May 12, 2022
                                       Case 2:22-bk-10266-BB                          Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                                                                         Desc
                                                                                       Main Document    Page 41 of 52




                                                            FILED CLAIM                                               SCHEDULED CLAIM                        OBJECTION                                        PROPOSED TREATMENT OF CLAIM


                                                                                                                                                                               Proposed Exit                                     Proposed      Proposed       Proposed
                               Claim   Date Claim                                      General        Schedule "D" Schedule       Schedule "F"                 Basis of          Financing       Proposed      Proposed           Priority     Unsecured      Unsecured
                    Creditor    No.      Filed      Admin      Secured    Priority    Unsecured         Secured    "E" Priority    Unsecured       C/U/D   Objection, If Any      Amount       Admin Amount Secured Amount        Amount        Amount         Payout
IDK Cooling Corp.               38      4/14/22                                        $2,041.41                                                                 Late                                                                            $0.00          $0.00

TOTAL                                                                                $15,982,714.51                               $13,818,133.93                                                $471,505.47    $21,815,446.71   $359,046.72 $18,514,329.91   $2,777,149.49
                                                                                                                                                                                                                                                             15% recovery




                                                                                                                      Page 4 of 4
                                                                                                          Escada Plan Disclosure Statment Ex.2
                                                                                                                     May 12, 2022
Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59   Desc
                         Main Document    Page 42 of 52




                                 Exhibit 3
                                                           Case 2:22-bk-10266-BB                                                  Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                                                                                                      Desc
                                                                                                                                   Main Document    Page 43 of 52

        Escada America LLC
        3 Year Cash Forecast
        $ in Thousands, Except per Unit Data                                                          ME           ME            ME           ME           ME             ME               ME              ME           ME           ME           ME           ME           YE
        Fcst / Act                                                                                  FCST          FCST         FCST          FCST         FCST           FCST            FCST             FCST         FCST         FCST         FCST         FCST         FCST
        Projection Month                                                                               1            2             3            4            5              6                   7            8            9           10           11           12            8
        Month / Year Ending                                                                         Aug-22        Sep-22       Oct-22        Nov-22       Dec-22         Jan-23          Feb-23           Mar-23       Apr-23       May-23       Jun-23       Jul-23       Jul-23

  1     Beginning Operating Cash                                                                      $1,700         $253         $272          $279         $299           $203               $222          $237         $484         $500         $522       $1,824       $1,700
  2
  3             ( + ) Store Receipts                                                                   $156          $153         $156          $153         $156           $156               $146          $156         $153         $156         $153         $156       $1,851
  4             ( + ) Other / Liquidation Receipts                                                          20          20            20           20           20             20                  20            20          20           20           20           20           240
  5             ( + ) Issuance of Exit Financing                                                           150             -            -             -            -              -                  -             -            -            -            -            -         150
  6             ( + ) Release of Bond LC (1)                                                                 -             -            -             -            -              -                  -          342             -            -     1,400               -     1,742
  5             ( + ) 3rd Party Sublease Contribution                                                       35          35            35           35           35             35                  35            35          35           35           35           35           420
  6     Total Receipts & Income                                                                        $361          $208         $211          $208         $211           $211               $201          $553         $208         $211       $1,608         $211       $4,403
  7
  8             ( - ) Consignment Fee (to be Accrued) (2)                                                   $0           $0            $0           $0           $0             $0                  $0           $0           $0           $0          $0           $0            $0
  9             ( - ) HQ Personnel                                                                         (40)         (40)          (40)         (40)         (40)           (40)                (40)         (40)         (40)         (40)         (40)         (40)      (480)
  10            ( - ) Store Personnel                                                                      (33)         (32)          (33)         (32)         (33)           (33)                (31)         (33)         (32)         (33)         (32)         (33)      (389)
  11            ( - ) Store Associate Retention Bonus                                                       (1)          (1)           (1)          (1)          (1)            (1)                 (1)          (1)          (1)          (1)          (1)          (1)         (12)
  12            ( - ) Selling and Shipping                                                                  (5)          (5)           (5)          (5)          (5)            (5)                 (4)          (5)          (5)          (5)          (5)          (5)         (56)
  13            ( - ) Store Rent                                                                           (15)         (15)          (15)         (15)         (15)           (15)                (15)         (15)         (15)         (15)         (15)         (15)      (180)
  14            ( - ) HQ Rent                                                                              (35)         (35)          (35)         (35)         (35)           (35)                (35)         (35)         (35)         (35)         (35)         (35)      (420)
  15            ( - ) Financial Charges                                                                     (2)          (2)           (2)          (2)          (2)            (2)                 (2)          (2)          (2)          (2)          (2)          (2)         (28)
  16            ( - ) Benefits                                                                             (35)         (35)          (35)         (35)         (35)           (35)                (35)         (35)         (35)         (35)         (35)         (35)      (420)
  17            ( - ) Misc. (Facilities & Other)                                                            (4)          (4)           (4)          (4)          (4)            (4)                 (4)          (4)          (4)          (4)          (4)          (4)         (46)
  18            ( - ) Utilities, Telephones, Networks                                                       (5)          (5)           (5)          (5)          (5)            (5)                 (5)          (5)          (5)          (5)          (5)          (5)         (60)
  19            ( - ) Sales Taxes                                                                          (15)         (15)          (15)         (15)         (15)           (15)                (14)         (15)         (15)         (15)         (15)         (15)      (178)
  20            ( - ) Interest Expense on Exit Financing                                                     -             -            -             -            -              -                  -             -            -            -            -            -            -
  21    Total Operating Disbursements                                                                  ($190)       ($188)       ($190)        ($188)       ($190)         ($190)              ($186)       ($190)       ($188)       ($190)       ($188)       ($190)     ($2,268)
  22
  23    Net Cash Flow Before Plan Expenses                                                             $172             $19           $22          $19          $22            $22                 $15       $363            $19          $22     $1,419            $22     $2,135
  24
  25            ( - ) LNBYG (Debtor's Counsel)                                                          (125)              -            -             -            -              -                  -             -            -            -            -            -      (125)
  26            ( - ) Gregory Jones (Sub V Trustee)                                                        (20)            -            -             -            -              -                  -             -            -            -            -            -         (20)
  27            ( - ) HCVT (Debtor's Accountant)                                                           (25)            -            -             -            -              -                  -             -            -            -            -            -         (25)
  28            ( - ) Committee Counsel                                                                    (30)            -            -             -            -              -                  -             -            -            -            -            -         (30)
  29            ( - ) US Trustee Quarterly Fees                                                             (8)            -          (14)            -            -            (3)                  -             -          (3)            -            -          (3)         (31)
  30            ( - ) County of Los Angeles                                                                (10)            -            -             -            -              -                  -             -            -            -            -            -         (10)
  31            ( - ) CA Franchise Tax Board                                                                (1)            -            -             -            -              -                  -             -            -            -            -            -          (1)
  32            ( - ) IRS                                                                                   (1)            -            -             -            -              -                  -             -            -            -            -            -          (1)
  33            ( - ) NYC Dept. of Finance                                                                   -             -            -             -      (117)                -                  -       (117)              -            -      (117)              -      (350)
  34            ( - ) Class I Eden Roc LLC                                                                   -             -            -             -            -              -                  -             -            -            -            -            -            -
  35            ( - ) Class II Mega International LLC                                                        -             -            -             -            -              -                  -             -            -            -            -            -            -
  36            ( - ) Class III Escada Sourcing and Production LLC                                           -             -            -             -            -              -                  -             -            -            -            -            -            -
  37            ( - ) Class IV Escada Sourcing and Production LLC                                            -             -            -             -            -              -                  -             -            -            -            -            -            -
  38            ( - ) Class V General Unsecured Creditors (3)                                         (1,400)              -            -             -            -              -                  -             -            -            -            -    (1,370)      (2,770)
  39    Ending Operating Cash                                                                          $253          $272         $279          $299         $203           $222               $237          $484         $500         $522       $1,824         $473         $473
  40
  41    Memo: Unpaid Consignment Fees to Escada Sourcing and Production LLC (1)                            $26          $52           $79       $105         $131           $158               $183          $209         $235         $261         $287         $314         $314
  42
  43
  44    (1) If the Bond in the amount of $1.4M is recovered sooner, proceeds will be distributed to the Class V General Unsecured Creditors within 30 days of receipt.
  44    (2) Assumes 15% of Retail and Other / Liquidation Receipts.
  45    (3) Primary source of this payment is expected from bond recovery and will is to be paid to Class 5 within 30 days of receipt, regardless of when recovered, but, under any circumstance, no later than July 31, 2023.




Escada America CF (5-12-22 Draft) v2                                                                                                                                                  1 of 1                                                                                                   5/12/2022 12:43 PM
Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59   Desc
                         Main Document    Page 44 of 52




                                 Exhibit 4
Case 2:22-bk-10266-BB         Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                   Desc
                               Main Document    Page 45 of 52



                                            EXHIBIT 4


       The Settlement Agreement between the Debtor and its estate, on the one hand, and Escada
Sourcing and Production LLC (“ESP”) on the other hand is under discussion and subject to final
documentation. The key terms of the Settlement Agreement are set forth in the Plan, and include:


        On the Effective Date, Escada Sourcing and Production LLC (“Exit Financier”) will
contribute exit financing in the amount of $150,000 subject to the terms of the Settlement
Agreement. The Settlement Agreement shall provide, in part, that the Exit Financier will (i)
provide a five-year, zero-interest, $150,000 loan to the Debtor, (ii) agree to subordinate its claim
for post-petition priority consignment fees, (iii) subordinate its claims under Classes 3 and 4 to
those of Class 5 to the extent provided for in the Debtor’s Plan and (iv) vote in favor of the Debtor’s
Plan, in return for which the Debtor and the Estate shall irrevocably grant the Exit Financier and
its wholly-owned subsidiary, Escada Online GmbH, a complete release of claims, including,
without limitation, for any preference or fraudulent transfers or avoidance action claims.
        If the Bankruptcy Court orders the Bankruptcy Case converted to chapter 7 after the Plan
is confirmed, then all property that had been property of the Debtor’s chapter 11 estate that has not
been disbursed pursuant to the Plan will revest in the chapter 7 estate, and the automatic stay will
be reimposed upon the revested property, but only to the extent that relief from stay was not
previously authorized by the Bankruptcy Court during the Bankruptcy Case, and, the Bond Lien
shall remain in place, and the Settlement shall remain in place.
       The foregoing is without prejudice to revision during ongoing settlement discussions.
Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59   Desc
                         Main Document    Page 46 of 52




                                 Exhibit 5
                             Intentionally Omitted
Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59   Desc
                         Main Document    Page 47 of 52




                                 Exhibit 6
Case 2:22-bk-10266-BB        Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59              Desc
                              Main Document    Page 48 of 52



                                           Exhibit 6



 Landlord or                 Real Property                  Assume or          Cure
 Counterparty                Address (if Lease)             Reject             Amount

 Worth‐Pondfield LLC c/o     222 Worth Avenue,
 Eastgold Holdings LLC       Palm Beach, Florida            TBD                TBD

                             693 Fifth Avenue 6th Floor,
 693 Fifth Owner LLC         New York, NY                   TBD                TBD

 Scottsdale Fashion          6900 E Camelback Rd,
 Square LLC                  Scottsdale, AZ 85251           TBD                TBD

 Escada Sourcing and         N/A (Consignment
 Production LLC              Agreement)                     TBD                TBD


The Debtor uses the “Escada” brand subject to a licensing agreement, which the Debtor believes
is not an executory contract. If the Debtor’s Plan is confirmed, then the Reorganized Debtor will
continue to use the Escada brand.
Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59   Desc
                         Main Document    Page 49 of 52




                                 Exhibit 7
                            Intentionally Omitted
Case 2:22-bk-10266-BB   Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59   Desc
                         Main Document    Page 50 of 52




                                 Exhibit 8
                           Intentionally Omitted
Case 2:22-bk-10266-BB          Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59                      Desc
                                Main Document    Page 51 of 52

  1 PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is 2818 La Cienega Avenue, Las Angeles, CA 90034
  3
      A true and correct copy of the foregoing document entitled DEBTOR’S CHAPTER 11 PLAN OF
  4   REORGANIZATION, DATED MAY 12, 2022 will be served or was served (a) on the judge in chambers
      in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  5
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On May 12, 2022, I checked the CM/ECF docket for this bankruptcy case or
  7   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  8
                                                                Service information continued on attached page
  9
      2. SERVED BY UNITED STATES MAIL: On May 12, 2022, I served the following persons and/or
 10   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 11   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 12      Service information continued on attached page
 13   The Honorable Sheri Bluebond
      United States Bankruptcy Court
 14   Central District of California
      Edward R. Roybal Federal Building and Courthouse
 15   255 E. Temple Street, Suite 1534 / Courtroom 1539
      Los Angeles, CA 90012
 16
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 17   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on May 12, 2022, I served the following persons and/or entities by personal delivery, overnight mail
 18   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 19   mail to, the judge will be completed no later than 24 hours after the document is filed.

 20                                                             Service information continued on attached page

 21   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
 22
       May 12, 2022             Jason Klassi                             /s/ Jason Klassi
 23    Date                           Type Name                          Signature

 24
 25
 26
 27
 28



                                                           34
Case 2:22-bk-10266-BB           Doc 160 Filed 05/12/22 Entered 05/12/22 17:11:59             Desc
                                 Main Document    Page 52 of 52

  1
      2:22-bk-10266-BB Notice will be electronically mailed to:
  2
      Dustin P Branch on behalf of Creditor The Macerich Company
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